Case 21-30999-acs       Doc 97-1      Filed 01/07/25     Entered 01/07/25 10:20:13         Page 1 of
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                          UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                           WESTERN DISTRICT OF KENTUCKY

In Re:                                    )     Case No: 21-30999
Manuel Stewart II                         )     Chapter 13
                                          )
                                          )
                           Debtor         )
________________________________________________________________________

                          ORDER ON MOTION TO MODIFY PLAN

       The Debtor, by counsel, having filed a Motion to Modify, and the Court being

sufficiently advised;

       IT IS HEREBY ORDERED AND ADJUDGED that the Debtor’s plan is hereby

modified to increase the Debtors’ remaining plan payment to $2,230.00 monthly beginning with

the payment due for February 2025 and that Debtor will pay $2,230.00 monthly via wage

deduction.

       IT IS FURTHER ORDERED AND ADJUDGED that any arrears owed by Debtor are

hereby waived and that Debtor’s plan is deemed current.

       IT IS FINALLY ORDERED AND ADJUDGED that attorney for Debtor is awarded

$200.00 in attorney fees to be distributed as an administrative expense at the earliest distribution.



Respectfully submitted:

/s/Tracy L Hirsch
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